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                               EXHIBIT 17
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John Y. Bonds, III                                 Deborah Deitsch-Perez
State Bar I.D. No. 02589100                        State Bar No. 24036072
Clay Taylor                                        Michael P. Aigen
State Bar I.D. No. 24033261                        State Bar No. 24012196
Bryan C. Assink                                    STINSON LLP
State Bar I.D. No. 24089009                        3102 Oak Lawn Avenue, Suite 777
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420 Throckmorton Street, Suite 1000                (214) 560-2201 telephone
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ATTORNEYS FOR DEFENDANT JAMES DONDERO

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                            §                                  Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                  Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
v.                                 §                                 Adversary No. 21-03003-sgj
                                   §
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

           DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
                 TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
                      FIRST REQUEST FOR ADMISSIONS

TO:      Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
         Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

         Defendant James Dondero (“Defendant” or “Dondero”) serves his Objections and

Responses to Debtor Highland Capital Management, L.P.’s (“Debtor” or “Highland”) First

Request for Admissions (“Requests”), as follows:




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
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Dated: April 28, 2021                    Respectfully submitted,

                                         /s/ Bryan C. Assink
                                         John Y. Bonds, III
                                         State Bar I.D. No. 02589100
                                         Clay Taylor
                                         State Bar I.D. No. 24033261
                                         Bryan C. Assink
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                                         -and-

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                                         ATTORNEYS FOR DEFENDANT JAMES DONDERO




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on April 28, 2021, a true and correct copy of the
foregoing document was served via email on counsel for the Debtor.

                                                    /s/ Bryan C. Assink
                                                    Bryan C. Assink




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
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                                OBJECTIONS AND RESPONSES

REQUEST FOR ADMISSION NO. 1: Admit that attached as Exhibit A is a true and correct
copy of a Promissory Note (a) executed by James Dondero, as maker, in favor of the Debtor, as
payee, (b) dated February 2, 2018, (c) in the original face amount of $3,825,000 (the “February 2
Note”).

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 2: Admit that on or about February 2, 2018, the Debtor
paid $3,825,000 to James Dondero (or for his benefit) in exchange for the February 2 Note (the
“February 2 Consideration”).

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 3: Admit that on or about February 2, 2018, the Debtor
transferred $3,825,000 to an account for James Dondero’s benefit.

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 4: Admit that neither James Dondero nor any entity he
owns and/or controls paid any federal or state income taxes on account of the February 2
Consideration.

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 5: Admit that attached as Exhibit B is a true and correct
copy of a Promissory Note (a) executed by James Dondero, as maker, in favor of the Debtor, as
payee, (b) dated August 1, 2018, (c) in the original face amount of $2,500,000 (the “August 1
Note”).

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 6: Admit that on or about August 1, 2018, the Debtor paid
$2,500,000 to James Dondero (or for his benefit) in exchange for the August 1 Note (the “August
1 Consideration”).


DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
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RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 7: Admit that on or about August 1, 2018, the Debtor
transferred $2,500,000 to an account for James Dondero’s benefit.

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 8: Admit that neither James Dondero nor any entity he
owns and/or controls paid any federal state income taxes on account of the August 1
Consideration.

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 9: Admit that attached as Exhibit C is a true and correct
copy of a Promissory Note (a) executed by James Dondero, as maker, in favor of the Debtor, as
payee, (b) dated August 13, 2018, (c) in the original face amount of $2,500,000 (the “August 13
Note”).

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 10: Admit that on or about August 13, 2018, the Debtor
paid $2,500,000 to James Dondero (or for his benefit) in exchange for the August 13 Note (the
“August 13 Consideration”).

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 11: Admit that on or about August 13, 2018, the Debtor
transferred $2,500,000 to an account for James Dondero’s benefit.

RESPONSE:

ADMIT.

REQUEST FOR ADMISSION NO. 12: Admit that neither James Dondero nor any entity he
owns and/or controls paid any federal or state income taxes on account of the August 13
Consideration.

RESPONSE:

DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
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ADMIT.

REQUEST FOR ADMISSION NO. 13: Admit that attached as Exhibit D is the Debtor’s
December 3, 2020 demand letter (the “Demand Letter”) to James Dondero demanding payment
of the accrued interest and principal due and payable on the Promissory Notes in the aggregate
amount of $9,004,013.07 (the “Outstanding Amount”).

RESPONSE:

Admit only that the letter attached as Exhibit D is a letter sent from the Debtor to Dondero
making demand on the notes. The remainder of the request is denied.

REQUEST FOR ADMISSION NO. 14: Admit that, as of January 22, 2021, James Dondero
has not paid the Debtor the Outstanding Amount.

RESPONSE:

Admit only that Dondero has not paid the Debtor the amount the Debtor asserts is due on the
notes in the amount of $9,004,013.07. The remainder of the request is denied.




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
FIRST REQUEST FOR ADMISSIONS                                                PAGE 6 OF 6
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